          Case 6:17-cv-00448-MC        Document 104        Filed 06/10/19     Page 1 of 3




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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION



JENNIFER JOY FREYD,                                                          No. 6:17-cv-448-MC

                       Plaintiff,                 REPLY IN SUPPORT OF DEFENDANT
                                                  MICHAEL H. SCHILL’S BILL OF
         v.                                       COSTS

UNIVERSITY OF OREGON,
MICHAEL H. SCHILL, and HAL
SADOFSKY,

                       Defendants.

         This memorandum is submitted in reply to Plaintiff’s objections to Defendant Michael

Schill’s Bill of Costs. Defendant Schill adopts and incorporates by reference the Reply

Memorandum in Support of Defendants University of Oregon and Hal Sadofsky’s Bill of Costs.

We reply separately only to address Plaintiff’s assertion that the deposition transcripts were not

necessary in this litigation. This reply also is supported by the accompanying Declaration of

Nathan Morales.


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          Case 6:17-cv-00448-MC         Document 104        Filed 06/10/19     Page 2 of 3




         Contrary to Plaintiff’s assertions, obtaining and using the deposition transcripts was a

necessary component of this litigation. Plaintiff asserted claims against Defendant Schill in both

his personal and official capacities. Morales Decl. ¶ 1. Accordingly, in July 2018, we began

drafting a motion for summary judgment on those claims. Id. at ¶ 2. The draft relied heavily on

excerpts from the deposition transcripts. Id. In October 2018, counsel for Plaintiff ultimately

agreed to dismiss the claims alleged against Schill in his personal capacity. Id. at ¶ 3. To

prepare for those discussions with Plaintiff’s counsel, it was necessary to review the deposition

transcripts to assess the strength of Plaintiff’s claim against Schill. Id. This also helped

defendants avoid moving to dismiss the personal capacity claims alleged against Schill on

qualified immunity grounds, which in turn reduced the attorney fees that otherwise would have

been incurred for such work. Under these circumstances, the deposition transcripts played a

necessary part in the resolution of Plaintiff’s claim against Defendant Schill.

         For the reasons set forth above, and in the defendants’ other supporting documents, we

respectfully request that this Court enter an award in the amount of $3,873.95 for Defendant

Schill’s costs.

DATED: June 10, 2019                                PERKINS COIE LLP


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          Case 6:17-cv-00448-MC         Document 104        Filed 06/10/19     Page 3 of 3




                            CERTIFICATE OF COMPLIANCE
                         PURSUANT TO LR 7-2(B) AND LR 54-1(C)
         This brief complies with the applicable word-count limitation under LR 7-2(b) and

LR 54-1(c) because it contains 267 words, including headings, footnotes, and quotations, but

excluding the caption, table of contents, table of authorities, signature block, and any certificates

of counsel.

DATED: June 10, 2019                                PERKINS COIE LLP


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